                               NO. 07-10-0275-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL B
                                       
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SEPTEMBER 15, 2010
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                               GERALD BROWDER,  
                                       
                                  	Appellant 
                                      v.
                                       
JAMES LOWELL PENTON, JR., AS THE INDEPENDENT EXECUTOR OF THE ESTATE OF JAMES LOWELL PENTON, DECEASED,  
                                       
                                   	Appellee
                         _____________________________
                                       
                   FROM THE PROBATE COURT OF DENTON COUNTY;
                                       
           NO. PR-2008-00217-02; HONORABLE DON R. WINDLE, PRESIDING
                        ______________________________

                              Order of Dismissal
                        ______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
Appellant timely noticed his appeal and both records were timely filed.  On July 20, 2010, appellant and appellee filed an agreed motion to remand in order to effectuate a settlement agreement.  On July 30, 2010, this Court remanded the case to the trial court and advised the parties that a copy of any orders executed effectuating the settlement must be filed in a supplemental clerk's record along with a joint motion of the parties requesting the reinstatement and dismissal of the appeal on or before August 30, 2010.  They were also told that the failure to file either would result in the dismissal of the appeal for want of prosecution.  August 30th passed and neither party has contacted the Court as directed.  Thus, pursuant to Rule 42.3(b) and (c) of the Texas Rules of Appellate Procedure, this cause is dismissed for want of prosecution and for failure to comply with a court order.  
It is so ordered.
                                         	Per Curiam

 
 





